  Case 2:11-cv-15048-AC-MJH ECF No. 3, PageID.13 Filed 12/05/11 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

GLENDA KNUCKLES,                    }           Civil Action 2:11-cv-15048
                                    }
      Plaintiff,                    }           JUDGE: AVERN COHN
                                    }
      v.                            }
                                    }
GLOBAL RECOVERY GROUP, LLC          }
                                    }
      Defendant.                    }
____________________________________/

    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       NOW COMES Plaintiff Glenda Knuckles, by and through undersigned counsel and

hereby voluntary dismisses her case against Defendant Global Recovery Group, LLC, without

prejudice, pursuant to Rule 41(a).

                                         Respectfully Submitted,

                                         KAHN & ASSOCIATES, L.L.C.


                                         /s/ J. Daniel Scharville______________
                                         J. DANIEL SCHARVILLE (P67103)
                                         6200 Rockside Woods Blvd – Suite 215
                                         Independence, Ohio 44131
                                         (216) 621-6101
                                         (216) 621-6006 Facsimile
                                         Attorney for Plaintiff
  Case 2:11-cv-15048-AC-MJH ECF No. 3, PageID.14 Filed 12/05/11 Page 2 of 2




                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

GLENDA KNUCKLES,                    }         Civil Action 2:11-cv-15048
                                    }
      Plaintiff,                    }         JUDGE: AVERN COHN
                                    }
      v.                            }
                                    }
GLOBAL RECOVERY GROUP, LLC          }
                                    }
      Defendant.                    }
____________________________________/


                ORDER DISMISSING CASE WITHOUT PREJUDICE

       THIS CAUSE having come before the Court on the Plaintiff’s Notice of Voluntary

Dismissal Without Prejudice, it is hereby ORDERED that this case is dismissed without

prejudice.


SO ORDERED THIS _____ day of December, 2011.



                                              ________________________________
                                              Judge Avern Cohn
